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 4                       UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF CALIFORNIA
 6   SAN LUIS & DELTA-MENDOTA WATER           1:09-CV-407 OWW DLB
 7   AUTHORITY AND WESTLANDS WATER
     DISTRICT,                                ORDER RE FILING OF
 8                                            ADMINISTRATIVE RECORD IN
                      Plaintiffs,             THIS AND RECENTLY-FILED
 9                                            RELATED CASES:
          v.                                  1:09-CV-480 OWW DLB &
10                                            1:09-CV-631 OWW GSA
     KENNETH LEE SALAZAR, ET AL.,
11                    Defendants.
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          It is the court’s preference that administrative records be
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     submitted on CD-ROM.    However, there has been great variability
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     in the organizational quality of recently-submitted records in
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     related cases.   Of particular concern is the occasional lack of
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     any clear relationship between indices (usually organized
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     according to bates stamp order) and the file structure on the CDs
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     submitted.   It is requested that any administrative record
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     submitted on CD(s) in this case be accompanied by a hard copy of
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     an index to those records, describing by subject the content of
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     the record in bates-stamped order.      The file names (both of
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     folders and individual files) on any CDs should also bear the
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     bates stamp ranges of the document(s) they represent.         For
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     example, if a folder contains bates numbers 0001-0999, the folder
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     should be labeled “0001-0999,” and the individual files within
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     that folder should bear their respective bates numbers.         If, for
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 1   organizational purposes, Federal Defendants also wish to include
 2   textual titles, any such text should follow the bates stamp
 3   range.     For example, a folder could be named “0001-0999
 4   Biological Opinion & Appendices,” with files within that folder
 5   named “0001-0399 Biological Opinion,” “0400-0495 Appendix A,”
 6   etc.    This labeling protocol is intended to facilitate the
 7   court’s ability to quickly locate documents cited by the parties.
 8   Should Federal Defendants believe a modification to this protocol
 9   would be helpful, they may contact chambers to obtain verbal
10   permission for an alternative approach.
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12   SO ORDERED
13   Dated:     May 1, 2009
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15                                          /s/ Oliver W. Wanger
                                              Oliver W. Wanger
16                                       United States District Judge
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